     Case 1:15-cv-00728-CKK-MAU Document 124 Filed 01/06/23 Page 1 of 11




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, ex rel.                     )
VERMONT NATIONAL TELEPHONE CO.,                       )
                                                      )
               Plaintiffs,                            )
                                                      ) Civil Action No. 15-0728(CKK)
                       v.                             )
                                                      )
NORTHSTAR WIRELESS, L.L.C. et al.,                    )
                                                      )
               Defendants.                            )
                                                      )

 UNITED STATES’ RESPONSE IN SUPPORT OF ITS OPPOSITION TO DISMISSAL
       OF CERTAIN CLAIMS UNDER THE PUBLIC DISCLOSURE BAR

       The United States submits this response in support of its Notice of Partial Opposition to

Dismissal Under the Public Disclosure Bar (Dkt. No. 118) pursuant to this Court’s December 26,

2022 Order. The Government files this brief because it has a significant interest in the proper

interpretation of the circumstances in which a defendant may interpose an objection that a qui

tam case is parasitical and may move to dismiss on that basis.

       A.      The Plain Language of the FCA Precludes Dismissal Under the Public
               Disclosure Bar Where the Government Objects

       The plain and unambiguous language of the False Claims Act (“FCA”) precludes

dismissal under the public disclosure bar, 31 U.S.C. § 3730(e)(4)(A), where the Government

objects. The analysis here “begin[s], as always, with the plain language of the statute in

question.” Citizens Coal Council v. Norton, 330 F.3d 478, 482 (D.C. Cir. 2003). The relevant

statutory provision provides, in pertinent part, that “[t]he court shall dismiss an action or claim

under this section, unless opposed by the Government, if substantially the same allegations or

transactions as alleged in the action or claim were publicly disclosed....” 31 U.S.C. §

3730(e)(4)(A) (emphasis added). This language, as every court that has considered the question
     Case 1:15-cv-00728-CKK-MAU Document 124 Filed 01/06/23 Page 2 of 11




has concluded, gives the Government “veto power over dismissal of an FCA suit on public

disclosure bar grounds.” United States ex rel. Scutellaro v. Capitol Supply, Inc., 2017 U.S. Dist.

LEXIS 59531, *53, 2017 WL 1422364 (D.D.C. April 19, 2017); United States ex rel. Radcliffe v.

Purdue Pharma Ltd. P’ship, 737 F.3d 908, 918 (4th Cir. 2013) (observing that the current public

disclosure bar is “a non-jurisdictional defense that is . . . subject to veto by the government”);

United States v. Select Med. Corp., 2017 U.S. Dist. LEXIS 15273, 2017 WL 468276, *4 (S.D.

Ind. Feb. 3, 2017).

       Despite this clear language, Defendants make four arguments based on the FCA’s text,

structure, context and legislative history, why this Court can dismiss a qui tam action over the

opposition of the Government. None of these arguments is persuasive.

       First, Defendants argue the word “opposed” in the statute suggests “a position that must

be evaluated by a court rather than blindly accepted as dispositive.” Def. Reply at 11-12. That is

not the “ordinary meaning” of the term “opposed.” Fadhel Hussein Saleh Hentif v. Obama, 733

F.3d 1243, 1246 (2013) (“The court’s interpretation naturally begins with the statutory text and

the presumption that Congress has employed the ordinary meaning of the words it used unless

there are reasons to indicate it intended another meaning”). The word “opposed,” as defined

Oxford English Dictionary, means “adverse or hostile to.” Oxford English Dictionary (3d ed.

2004). Nothing in that definition suggests a need for “evaluation by a court”; the term is limited

to a description of the position of a party. The Defendants’ citations to Black’s Law Dictionary

are misguided because they are to definitions for the phrase “opposition brief” and “opposition”

in the patent context. Def. Reply at 12. In both, the suggestion of judicial evaluation arises not

from the word “opposition,” but rather the other word in the phrase: briefs are generally filed

where relief from the court is requested and opposition in the patent context refers to opposition



                                                  2
     Case 1:15-cv-00728-CKK-MAU Document 124 Filed 01/06/23 Page 3 of 11




proceedings, which are administrative processes that consider challenges to patents and

trademarks. See, e.g., Yamaha Int’l Corp. v. Hoshino Gakki Co., 840 F.2d 1572, 1576 (Fed. Cir.

1988) (“An opposition proceeding is initiated by a simple statement, comparable to the filing of a

complaint”). By contrast, the FCA’s use of the term “opposed” speaks only to the position of the

Government and not whether there is a need for judicial evaluation.

        Second, the Defendants argue the Government’s opposition affects only the “shall

dismiss” directive and, therefore, the only effect is that the Court is no longer commanded to

dismiss under public disclosure bar but instead can exercise its discretion to do so. Def. Reply at

12. However, the “shall dismiss” directive is the only grant of authority that allows dismissal

under the public disclosure bar. 31 U.S.C. § 3730(e)(4)(A). If this provision of the statute is

unavailable due to the Government’s opposition, as the Defendants concede, there is simply no

other authority under which the Court may dismiss a qui tam action under the public disclosure

bar. Corroborating this conclusion is the lack of any standard for a court to weigh the

Government’s opposition to dismissal under the public disclosure bar. Cf. 31 U.S.C. §

3730(c)(2)(B) (allowing the Government to settle a qui tam action over the objection of the

relator if the court concludes the settlement is “fair, adequate, and reasonable under all the

circumstances”). Nor would such a standard make sense as the public disclosure bar is designed

to protect the Government from “a relator [] merely repackaging information enumerated in the

public disclosure bar for personal profit by asserting an FCA claim.” United States v. Allergan,

Inc., 46 F.4th 991, 994 (9th Cir. 2022). Where, as here, the Government has determined that

dismissal under the public disclosure bar is not in its interest, there is no rationale for further

Court intervention. See United States ex rel. Conroy v. Select Med. Corp., 211 F. Supp. 3d 1132,

1150 (S.D. Ind. 2016) (“The interpretation Select advances would require the court to read into §



                                                   3
     Case 1:15-cv-00728-CKK-MAU Document 124 Filed 01/06/23 Page 4 of 11




3730(e)(4)(A) an additional provision instructing the court, in the event of a government

opposition, to consider all arguments and decide in its discretion whether to dismiss the action.

With respect to public disclosure, Congress expressed only one directive: courts must dismiss qui

tam claims based on public information, unless the government objects or the relator qualifies as

an original source. Anything else simply finds no support in the statute”).

       Third, Defendants cite 31 U.S.C. § 3730(b)(1) as an example where Congress specifically

intended to “empower the executive branch to preclude dismissal of an FCA qui tam suit.” Def.

Reply at 13. That provision, however, deals exclusively with situations where the relator wishes

to dismiss the qui tam action, either as a voluntary dismissal under Fed. R. Civ. P. 41 or as part

of a settlement. The provision at issue here concerns dismissal against the wishes of the relator.

Given these disparate circumstances, it is unsurprising that the language is different.

       Finally, Defendants argue the legislative history supports “that Congress did not intend to

confer a judicially unreviewable veto on the government.” Def. Reply at 14. In particular,

Defendants cite to unenacted versions of the public disclosure bar that would have let only the

Government move to dismiss. Id. But the rational explanation for Congress’ choice to allow

defendants to move to dismiss under the public disclosure bar is not that Congress somehow

wanted to limit the Government’s authority but rather to reduce the Government’s burden from

having to brief and argue such a motion and because the Government already has the power

under Section 3730(c)(2)(A) to dismiss qui tam actions. In any event, the Court need “not resort

to legislative history to cloud a statutory text that is clear.” Eagle Pharm., Inc. v. Azar, 952 F.3d

323, 339 (D.C. Cir. 2020).

       In sum, the clear and unambiguous language of Section 3730(e)(4)(A) gives the

Government “veto power over dismissal of an FCA suit on public disclosure bar grounds.”



                                                  4
     Case 1:15-cv-00728-CKK-MAU Document 124 Filed 01/06/23 Page 5 of 11




Scutellaro, 2017 U.S. Dist. LEXIS 59531 at *53. That every court, at both the trial and appellate

level, that have considered the issue has reached this conclusion without much analysis is not an

indictment of all of those courts, as Defendants suggest (Def. Reply at 13) (criticizing these

decisions as containing “little or no analysis”), but rather a reflection of the effect of clear

statutory language. See, e.g., Radcliffe, 737 F.3d at 918 (4th Cir. 2013); Select Med. Corp., 017

U.S. Dist. LEXIS 15273 at *4; United States ex rel. Berntsen v. Prime Healthcare Servs., Inc.,

2014 U.S. Dist. LEXIS 188722, 2014 WL 12480026, at *2 (C.D. Cal. Nov. 20, 2014) (“The

authority that does exist . . . seems to support the Government’s [] position that dismissal on this

[public disclosure] ground is precluded in the face of the Government’s opposition to the

motion”); United States ex rel. Baker v. Community Health Sys., Inc., 2014 U.S. Dist. LEXIS

184541, 2014 WL 10212574, at *25 (D.N.M. May 16, 2014) (“Under this post-amendment

provision, the Government’s opposition precludes application of the public disclosure bar as to

claims for payment made after March 23, 2010”); United States ex rel. Szymoniak v. Am. Home

Mortg. Serv., Inc., 2014 U.S. Dist. LEXIS 64893, 2014 WL 1910845, at *2 (D.S.C. May 12,

2014) (“Because the United States has opposed dismissal on public disclosure grounds for claims

submitted after March 22, 2010, the only issue currently before the court with regard to the

public disclosure bar is if allegedly false claims submitted to the United States prior to March 23,

2010, should be dismissed”). As the Supreme Court held: “Because the plain language [] is

unambiguous, [the] inquiry begins with the statutory text, and ends there as well.” Nat’l Ass’n of

Mfrs. v. DOD, 138 S. Ct. 617, 631 (2018) (internal quotation marks omitted).

        B.      Giving Effect to the Plain Language of the Public Disclosure Bar Raises No
                Constitutional Concerns

        Having failed to identify a textual basis for its interpretation of the public disclosure bar,

the Defendants attempt to manufacture a constitutional one. First, Defendants argue that

                                                   5
     Case 1:15-cv-00728-CKK-MAU Document 124 Filed 01/06/23 Page 6 of 11




interpreting the Government’s opposition to dismissal under the public disclosure bar as

conclusive would “impermissibly confer the Government’s ‘judicial Power’ on entities outside

Article III.” Def. Reply at 15. But the Government’s veto of a dismissal under the public

disclosure bar does not represent an exercise of judicial power protected by Article III of the

Constitution.

       “[I]n general, Congress may not ‘withdraw from judicial cognizance any matter which,

from its nature, is the subject of a suit at the common law, or in equity, or admiralty.’” Stern v.

Marshall, 564 U.S. 462, 484 (2011). But that applies to suits that are “made of the stuff of the

traditional actions at common law tried by the courts at Westminster in 1789 and is brought

within the bounds of federal jurisdiction.” Id. (internal quotation marks and citations omitted).

That is not at issue here as the public disclosure bar is simply a statutory defense created by

Congress. It is not the delegation of judicial power to establish an element of a statutory

defense—in this case the non-opposition by the Government. See Logan v. Zimmerman Brush

Co., 455 U.S. 422, 433 (1982) (“[T]he State remains free to create substantive defenses or

immunities for use in adjudication -- or to eliminate its statutorily created causes of action

altogether....”). The Government’s objection affects the availability of a specific statutory

defense under the FCA and does not operate as a blanket veto precluding dismissal for any

reason. As such, there is no improper delegation of judicial authority. See Conroy, 211 F. Supp.

3d at 1151 (“[A] court must dismiss an action based on public information if the government

does not object and the relator does not constitute an original source. This built-in condition

means that the court has no authority to dismiss a qui tam action on the basis of prior public

disclosure, and therefore no power to share, when the government asserts its opposition to

dismissal. Accordingly, the court finds no separation of powers problem here”). Indeed, the



                                                  6
     Case 1:15-cv-00728-CKK-MAU Document 124 Filed 01/06/23 Page 7 of 11




requirement in Section 3730(b)(1) that a qui tam action can be “dismissed only if the court and

the Attorney General give written consent to the dismissal and their reasons for consenting” is

likewise considered constitutional because it does not affect all dismissals. See Searcy v. Phillips

Elect. North Am. Corp., 117 F.3d 154, 160 (5th Cir. 1997) (limiting the requirement to voluntary

dismissals only). Finally, it should be noted the public disclosure bar is no longer a question of

jurisdiction, which is an element traditionally left to the exclusive purview of the Court. United

States ex rel. Griffith v. Conn, 2015 U.S. Dist. LEXIS 22668 at *34 (E.D. Ky. Feb. 24, 2015)

(“Because the bar is no longer jurisdictional, the executive branch does not have control over the

jurisdiction of the courts. As a result, the post-PPACA public-disclosure bar poses no separation-

of-powers concerns”). Thus, there is no separation of powers concern with giving effect to the

clear statutory language of the public disclosure bar.

       Defendants also argue that giving effect to the Government’s objection would violate due

process as guaranteed by the Fifth Amendment because it would preclude an otherwise available

defense. Def. Reply at 16-18. Fatal to this argument, however, is the fact Defendants have no

protected interest in being able to assert the public disclosure bar over the objection of the

Government.

       The requirements of due process apply only when government action deprives a party of

an interest protected by the Constitution, such as life, liberty, or property. Bd. of Regents of State

Colleges v. Roth, 408 U.S. 564, 569 (1972). Critically, when an interest is created by a statute,

the interest is limited by that statutory scheme. Id. at 577-78; see also Town of Castle Rock. v.

Gonzales, 545 U.S. 748, 756 (2005) (protected entitlements are not created by the Constitution,

but rather “are created and their dimensions are defined by existing rules or understandings that

stem from an independent source,” such as a statute or state law). That is the case here where the



                                                  7
     Case 1:15-cv-00728-CKK-MAU Document 124 Filed 01/06/23 Page 8 of 11




interest in a public disclosure bar defense is created by Section 3730(e)(4). As discussed above,

the plain text of this statute provides as a condition to asserting the public disclosure bar the

absence of any opposition by the Government. Limiting the public disclosure bar in this manner

is not a violation of due process as “the legislative determination provides all the process that is

due.” Logan, 455 U.S. at 433. Instead, Defendants are claiming “an interest greater than that

which Congress bestowed: a right to invoke the public-disclosure bar even when the government

opposes dismissal.” Conroy, 211 F. Supp. 3d at 1152. Since that interest does not exist, it

cannot be protected by Due Process.

       Nor would creating such an interest be consistent with the underlying purpose of the

public disclosure bar, which was not to protect defendants from qui tam suits, but to protect the

Government from “the danger of parasitic exploitation of the public coffers….” United States ex

rel. Springfield Terminal Railway Co. v. Quinn, 14 F.3d 645, 649 (D.C. Cir. 1994). When it was

originally enacted, “the FCA placed no restriction on the sources from which a qui tam relator

could acquire information on which to base a lawsuit.” Schindler Elevator Corp. v. United

States ex rel. Kirk, 563 U.S. 401, 412 (2011). The public disclosure bar was added to “prevent[]

a relator from merely repackaging information enumerated in the public disclosure bar for

personal profit” at the expense of reducing the Government’s ultimate recovery. Allergan, 46

F.4th at 994; United States ex rel. Findley v. FPC-Boron Employees’ Club, 105 F.3d 675, 685

(D.C. Cir. 1997) (“Allowing qui tam suits after [public disclosure] may either pressure the

government to prosecute cases when it has good reasons not to or reduce the government's

ultimate recovery”). Where, as here, the Government expressly objects to dismissal under public

disclosure bar, the purpose of the public disclosure bar is necessarily fulfilled.




                                                  8
     Case 1:15-cv-00728-CKK-MAU Document 124 Filed 01/06/23 Page 9 of 11




       Finally, Defendants argue that the Government’s objection here was arbitrary because no

rationale was articulated. Def. Reply at 17-20. The plain language of the statute, however,

contains no such requirement. Instead, Section 3730(e)(4)(A) provides that the Government

need only “oppose” the dismissal in order for dismissal under the public disclosure bar to be

foreclosed. No reason need be provided since none is required by the statute. This is unlike

where the Government consents to a voluntary dismissal under Section 3730(b)(1), where the

statute specifically requires the Government to provide its “reasons for consenting.” As such, the

lack of an express rationale in the Government’s opposition is a reflection of the statutory

requirements, not arbitrariness.

       In these circumstances, the Government’s objection is impermissible only if done for a

reason that offends the Constitution, such as the defendants’ religion, race, or sex, cf. United

States v. Armstrong, 517 U.S. 456, 464, 465 (1996) (recognizing that equal-protection principles

constrain the government’s prosecutorial decisions, but requiring “ clear evidence ” to “dispel the

presumption that a prosecutor has not violated equal protection”) (citation omitted), or if the

objection is part of conduct so “egregious” that it “shocks the conscience”—the standard

applicable to executive action under the Due Process Clause, County of Sacramento v. Lewis,

523 U.S. 833, 846 (1998). In the absence of these sorts of violations, there is no substantive

basis for setting aside the Government’s objection to dismissal under the public disclosure bar.

       Here, Defendants do not attempt to allege such a constitutional violation. Instead, they

lodge a series of complaints that amount to a disagreement with the Government’s decision to

oppose dismissal. For instance, Defendants point to the Government’s decision to not oppose

dismissal in another case arising from the same auction. Def. Reply at 18. But that case is not

identical, and the Government is merely exercising its prosecutorial discretion to determine



                                                 9
    Case 1:15-cv-00728-CKK-MAU Document 124 Filed 01/06/23 Page 10 of 11




which of its cases should be litigated. See Heckler v. Chaney, 470 U.S. 821, 834 (1985)

(decisions to prosecute or to refrain from taking enforcement action are nonreviewable). There

is nothing constitutionally offensive about treating different cases differently. Defendants also

argue that the Government suffered no injury. Def. Reply at 19. But that fact is disputed by

relator and, in any event, the Government could be entitled to statutory penalties even in the

absence of damages. United States ex rel. Grubbs v. Ravikumar Kanneganti, 565 F.3d 180, 189

(5th Cir. 2009) (“The False Claims Act, in contrast, lacks the element[] of . . . damages”).

Finally, Defendants complain about the potential the role of the former General Counsel for the

FCC in the decision to oppose dismissal in this case, but fail to identify any specific misconduct,

let alone one that rises to the level of a constitutional violation. Def. Reply at 20. As such, there

is no constitutional (or, as noted above, statutory) basis for the Court to dismiss this qui tam

action under the public disclosure bar over the Government’s objection.

                                          *       *       *
       For the foregoing reasons, Defendants’ motion to dismiss under the FCA’s public

disclosure bar, 31 U.S.C. § 3730(e)(4), any claim that is premised upon Defendants’ knowing

failure to disclose to the FCC all of their instruments, agreements, and understandings with the

DISH-Controlling Defendants in connection with Auction 97 should be denied. The

Government takes no position on the dismissal of any other claim under the public disclosure

bar. Moreover, in objecting to the dismissal under the public disclosure bar of certain

allegations, the Government takes no position on their merits or whether they should be

dismissed on grounds other than the public disclosure bar.




                                                 10
Case 1:15-cv-00728-CKK-MAU Document 124 Filed 01/06/23 Page 11 of 11




                         Respectfully submitted,

                         MICHAEL D. GRANSTON
                         Deputy Assistant Attorney General
                         Civil Division

                         MATTHEW M. GRAVES
                         United States Attorney for the District of Columbia

                         BRIAN P. HUDAK
                         Chief, Civil Division

                           /s/ Darrell C. Valdez
                         DARRELL C. VALDEZ, D.C. Bar # 420232
                         Assistant United States Attorney
                         U.S. Attorney’s Office for the District of Columbia
                         601 D Street, N.W., Civil Division
                         Washington, D.C. 20530
                         (202) 252-2507

                         JAMIE A. YAVELBERG
                         PATRICIA L. HANOWER
                         BENJAMIN C. WEI
                         Attorneys, Civil Division,
                         Commercial Litigation Branch
                         U.S. Department of Justice
                         Post Office Box 261
                         Washington, D.C. 20044
                         (202) 616-2875

                         Attorneys for the United States of America




                                  11
